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UNITED DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

X
CASTLEPOINT INSURANCE COMPANY A!S/O AL
SALVATIERRA, PETITION FOR REMOVAL
Plaintiffs, from the Supreme Court of
»against- the State of New York, N.Y.
Coun§y
i§:§g§_§g§,;:gé?x%zmqCOM’ LLC AND Civil docket No. /2017

Defendants.

 

AMAZON DEFENDANTS’ NOTICE OF REMOVAL
Defendants Arnazon.Corn, Inc., Arnazon.corn, LLC and Amazon.Corn.DEDC, LLC, by
SMITH MAZURE DIRECTOR WlLKINS YOUNG & YAGERMAN, P.C. in the above-entitled
proceeding, desiring to exercise their right to removal pursuant to 28 U.S.C. §§1441 and 1446, as
amended by the Judicial Improvements and Access to Justice Acts §1016 (HR 4807), state as

follows:.

I. INTRODUCTI()N

l. This suit Was commenced by plaintiff against the defendants in the Suprerne
Court of the State of Nevv Yorl<, County of New York via filing of the Sumrnons. No further
proceedings have been had herein. Plaintiff seeks damages for property damages in the amount
of $162,092.66, exclusive of interest, costs and disbursements Plaintift‘s causes of action sound
in negligence, strict products liability, and breach of Warranty. The lawsuit involves a fire at the
Salvatierra horne in Staten lsiand, Nevv Yorl< allegedly casued by a self-balancing scooter
(cornrnonly known as a hoverboard) purchased on Arnazon.corn and sold per the purchase order

by “E-Link”. Copies of plaintiffs Surnrnons and Complaint are annexed as Exhibit “A”.
II. THIS CASE IS REMOVABLE UNDER DIVERSITY JURISDICTION

2. This is a suit of civil nature Which this United States District Court for the

Southern District of NeW York has original jurisdiction by reason of the diversity of citizenship

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of the parties pursuant to 28 U.S.C. § 1332 as no plaintiff is a citizen of the same state as any of
the defendants and the amount in controversy exceeds $75,000, exclusive of costs and

disbursements

3. Plaintiffs Sunnnons indicates that plaintiff s subrogor is a citizen of the State of

New York residing in Richrnond County. See Exhibit “A”.

4. 'fhe Summons and Complaint, filed on May ll, 2017 and served on l\/iay 23,
2017, indicates that plaintiff has an office in Nevv Yorl< County, is licensed to do business in
New York and the plaintiff is actually incorporated in the State of New York. This is so
although it was merged into Castlepoint National Insurance Cornpany, a California Corporation,
by Agreenient of Merger and Certificate of Approval of same effective .iuly 19, 2016. See
Exhibit “B”, Agreement of Merger and Certificate of Approval of same.

5. Defendant, AMAZON.COM, INC. is a corporation duly organized and existing
under the laws of the State of Delaware and its principal place of business is in Washington

State. lt is a citizen of Deiaware and Washington.

6. AMAZON.COM, LLC is a corporation duly organized and existing under the
laws of the State of Delaware and its principal place of business is in Washington State. lt is a

citizen of Delaware and Washington..

7. AMAZON.COM.DEDC, LLC is a limited liability company whose sole
member is Amazon Fulfillment Services, Inc which is a corporation duly organized and existing
under the laws of the State of Delaware and its principal place of business is in Washington

State. lt is a citizen of Delaware and Washington.

8. Based upon the foregoing, it appears that there is complete diversity between the

plaintiff and the defendants
II. THE AMOUNT IS C()NTROVERSY EXCEEI}S SISU,(JOU.

9. The amount in dispute in this action exceeds the sum of $75,000.()0 exclusive of

interests, disbursements and costs.

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IV. TIMELINESS OF REMOVAL

lO. The time to file this Petition for removai of this action to this Court has not

elapsed and Defendants‘ time to answer the Summons and Complaint has not expired
V. NO'I`ICE TO THE STATE COURT.

il. A copy of this Notice of Removal is being served on plaintiff counsel and filed
with the Supreme Court of the State of New Yorl<, New Yorl< County, where this case was
originain pending

WHEREFORE, Defendants Arnazon.Com, inc., Amazon.com, LLC and
Amazon.Com.DEDC, LLC, request that this case be removed to the United States District Court,
Southern District of New York, together with such other and further relief as to this Court may
seem just, proper and equitable

Dated: New York, New York
June l 9, 20 l 7

Yours, etc.,

ij {/}; 7 71§»”.5¢7%'?<,
gi §
J. JAY YOUNG, Esq. (JJY-4855)
SMITH MAZURE DIRECTOR WILKINS
YOUNG & YAGERMAN, P.C.
Attorneys for Defendants
Amazon.Com, Inc., Amazon.com, LLC and
Amazon.Com.DEDC, LLC
lll John Street
New York, NY 10038
(212) 964-7400
AMZ-O()109

 

TO: Wenig & Wenig, Esqs.

Attorney for Plaintiff

CastlePoint Insurance Cornpany, afs/o Ai Salvatierra
150 Broadway, Suite 9ii

New York, NY 10038

(212) 374-9840

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CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing Petition for Removal Was electronically filed
and mailed by first class mail, postage prepaid, this June 19, 2017, to all counsel of record as
indicated on the service list below.

br

‘Z:'? ila /”jj

 

J. J ay Young
For the Firm

SERVICE LIST

Wenig & Wenig, Esqs.

Attorney for Plaintiff

CastlePoint Insurance Company, afs/o Al Salvatierra
150 Broadway, Suite 911

New Yorl<, NY 10038

(212) 374-9840

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EXH|B|T A

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SUPREME CGURT ()F THE STATB OF NE`W Y()RK
COUNTY OF NEW YORK
~~- ------------------------------------ x index No. I_`~'}"L{r{ §§ § ~__ ;_?
CASTLEPOINT INSU`RANCE COMPANY A/S/'O AL
SALVATIERRA,

 

Pfaz'n!z]j€

-against~

AMAZON.COM, INC., AMAZON.COM LLC AND
Al\/T_AZON.COM.DEDQ LLC,

Dej%ndants.
»~~~ x

 

NOTICE OF COIVLMENCEMENT OF ACTI()N SUB.]ECT
'I`O MANDATORY ELEC'I`RONIC FILlNG

PLEASE TAKE NOTICE that the matter captioned above, which has been commenced by filing of the
accompanying documents with the County Clerk, is subject to mandatory electronic filing pursuant to
Section 202.5~bb of the Uniform Ruies for the ‘I`rial Courts. "l`his notice is being served as required by
Subdivision (b) (3) ot` that Section.

'l`he New York State Courts Electronic Filing Systern (“NYSCEF”} is designed for the electronic Eling of
documents with the County Cterk and the court and for the electronic service of those documents, court `
documents, and court notices upon counsel and self~represented parties Ccunsel and;'or parties who do not
notify the court of a claimed exemption (see below) as required by Section 202.5»bb(e) must immediately
record their representation Within the e-tiied matter on the Consent page in NYSCEF. F ailure to do so may
result in an inability to receive electronic notice of document filings

Exemptions from mandatory e~Elirig are limited to: l) attorneys who certify in good faith that they lack the
computer equipment and (along with all employees) the requisite knowledge to comply; and 2) self-
represented parties who choose not to participate in e-tiiing. For additional information about electronic
iiling, including access to Section 202.5-bb, consult the NYSCEF Website at www.nycourts.gov!etile or
contact the NYSCEF Resource Center at 646-386-3033 or eiile@courts.state.ny.us.

/ //
Dated: New York, New York / t /e .,,
May 11, 2017 ///¢QF"'/
WAlan\W`é'tiig, Esq.

WENIG & WENIG, PLLC
Attomeys for Plaintit`f
i50 Broadway ~ Suite 911
New York, NeW Yoi'lc 10038
{212} 374~984(}

atyenig@weniglaw.com
File No. :Ti 330

 

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SUPREME COUR'I` OF 'IH`E STATE OF NEW YORK
COUNTY OF NEW Y()RK

 

CASTLEPOINT INSURANCE COMPANY A/S/O AL
SALVA'{`IBRRA,

PIar'n£f_'/jf
-against~

M{AZON.COM, §NC., AMAZON.COM LLC AND
AMAZ{)N_COM.DEDC, LLC,

Dej%ndants.

 

NOTICE OF COMMENCEMENT OF ACTION SUBJECT
T() MANDATORY ELECTRONIC FILING

 

‘WENIG & WENIG, PLLC
Atforneysfor Piaintij
150 BROADWAY
SUITE 911
NEW YORK, NEW YORK 10038
(212) 374~9840

 

 

 

To:
Attoraey(s) for defendant
Servz‘ce cfa copy ofrhe within is
hereby admitted
Daz‘eci: .................................................................................
' Atromey(s)for
WENIG & WENIG, PLLC
Arrorneysfor Pfczintijj”
150 BROADWAY
SUITE 911

NEW YoRK, Naw Yoat<; 10033
(212) 374“9840

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CASTLEPOINT INSURANCE COl\/LPANY A/Sf() AL Plairzt§fct`es:gnates i/»J{?{J
SAL VATIERRA, N`EW YORK C` OUNTY' 1/;3/
as the place afraid 1
Plo'inrij
-against- Pi'ain£gf]"s address:
70 P'ine Street
AMAZON.COl\/i, INC., AMAZON.COM LLC AND New Yorl<, Ncw Yorl<
AMAZON.COM.DEDC, LLC_.
De]%na’nnts. Summmns
X

 

Basis ofvenue:
Plaintift` maintains an office in
NEW YORK COUNTY

TO 'i`I-IE ABOVE NAMED DEFENDANT:

YBU are her£by summinan to answer the compiaint in this action and to

Serve a copy ot` your answer, or, if the complaint is not served with this summons to serve a
notice ofappearance, on the Plaintit’l‘S Attorney within 20 days after the service of this
summons, exclusive of the day of` service (or within 30 days after the service is complete if this _
cummons is not personally delivered to you within the State ofNew York); and in case ofycur

failure to appear or answer, judgment Wili be taken against you by default for the relief

demanded in the complaint (WW
) _;?
Dated: New Yorl<_. New Yorlc {{f ,,-'~L/

May ll, 2017 _ Ai“a“n Wenig_"dsq

WENIG & WENIG, PLLC

Attomeysfor' Piczz`fttg`]j"
150 Broadway ~ Suite 91 1
New York, New Yorl< 10038

(212) 3?4-9840
l"ile i\lo.: T1330

Dafendam 's siddre.ss':

Amazon.com, lnc,, Amazon.com LLC- and Amazon.com,DEDC,LLC _
419 Terry Avenuc j _:
North Seattle, WA 98109 :'j~_)

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index No.

SUPREME COURT-OF THE STATE OF NEW YORK
COU'NTY (_`}F NEW YORK

CASTLEPOINT lNSURANCE COMPANY A/SfO AL SALVATIERRA,

Plaz`nn_`§§
-against-

AMAZON.COM, lNC., AMAZON.COM LLC AND AMAZON.COM.DEDC.LLC,

Dej%ndnnst.

 

Suntmona & Cemntatnt

 

WEN{G & WEN§G, PLLC
A£toz‘ney.tfor Plainti§`
150 BROADWAY
SUITE 91 1
NEW YORK, NE`,W YORK 10038
(2 121 374-984{3

 

To.'
At!orney¢s)for defendant

Ser*vice afa copy afth within is hereby admitted

Da.l‘ed:

Aré§i§.i}gy(§):}a§" ' `

 

WENIG & WNIG, PLLC
Aftorneysj€:)r Plai`n!g']}"
150 BROADWAY
SUlTE 91 l
NEW YORK, NEW YORK 10038
(212} 374-9340

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SUPREME COURT OF THE STATE OF NEW YORK n
COUNTY OF NEW Y{)Rl€ - _ ,_ ..
x ` lndex Noi','¢-’ j
CASTLEPOINT INSURANCE COMPANY A)'S/O t _ ` r,
AL SAI..VATIBRRA, ~' _ "
P£cz`nft]f
-against- VERIFIED COMPLAIN’I`
AMAZON.COM, lNC-, AMAZON.COM LLC AND
AMAZON.COM.DEDC, LLC,
Dejéndantr.
...... .. ___,__,'x
Plaintit`fs, by their attorneys chig & Wenig, PLLC, as and t`or a verified
complaint against the defendant herein, respectfully allege as follows:
FIRST CAUSE UF ACTION
1. That at all times hereinafter mentioned plaintiff Castiepoint Insurance Company

(hereina:lter refen ed to as “plaintift’ )`1s a foreign corporation duly licensed and authorized to
write insurance and conduct business' m the State ofl\iew Yorlc

2. That at all times hereinafter mentioned plaintiffs subrogor, Al Salvatierra
(hereinatter referred to as "subrogor") is a resident ot` the State of New Yorl<.

3. That at all times hereinafter mentioncd, defendant, Arnazon.com, lnc., is a
domestic corporation duly organized and existing under and by virtue of the laws ofthe State of
New York.

4. That at all times hereinafter mentioned defendant Arnazon.com, Inc. is a foreign
corporation duly licensed and authorized to conduct business in the State ofNew York.

5. 'l`hat at all times hereinafter mentioned defendant Amazon.com, lnc. is a
Delaware corporation, duly licensed and authorized to conduct business in the State ot`New
Yorl{.

6. That at all times hereinafter mentioned defendant Arnazon.corn, lnc. conducts

business in theS Stat€ OfNeW Yot‘l<

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7. That et all times hereinafter mentioned, defendant Arnazon.eorn, Inc. sells

products in the State oi`New Yorl<-

8. That at all times hereinafter mentioned, defendant Arnazon.com, lnc. markets
products in the State ot`New 'Yorlr.

9, That at all times hereinafter mentioned, defendant Amazon.com, Inc. distributes
products in the State of New Yorlr.

iO. That at all times hereinafter mentioned, defendant .ftma:zon.corn1 Inc. derives
revenue from business conducted in the State of New York.

Il. That at all times hereinafter mentioned7 defendant Amazon.com, Inc. owns
property in the State of New Yorlc.

12. That at all times hereinafter mentioned7 defendant Amazon.com LLC is a
domestic limited liability company, duly organized and existing under and by virtue of the laws
ot` the State of New York.

13. 'l`hat at all times hereinafter mentioned, defendant Aniazon.com LLC is a foreign
limited liability company duly licensed and authorized to conduct business in the State ofNew
Yorl<.

i4. That at all times hereinafter mentioned defendant Amazon com LLC is a
Delaware limited liability company duly licensed and authorized to conduct business in the State
of New York.

l$. That at all times hereinafter mentioned, defendant Arnazon.corn LLC conducts
business in the State ofl\lew York.

16. That at all times hereinafter mentioned defendant Amazon.com LLC sells
products in the State of New Yoric.

l?. That at all times hereinafter mentioned defendant Arnazon.com LLC markets
products in the State of New Yoi'ir_

18, That at all times hereinafter mentioned defendant Amazcn.com LLC distributes
products in the State of`NeW Yorlc.

l9. That at all times hereinafter mentioned defendant Arnazon,coxn LLC derives
revenue from business conducted in the State of l\lew Yorl<.

20. That at all times hereinafter mentioned defendant Amazcn.corn LLC owns

property in the State ofi\lew York.

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21. Tnat at all times hereinafter mentioned defendant Amazon.com.DEDC, LLC is a
domestic limited liability eompany, duly organized and existing under and by virtue of the laws
of the State of New Yorli.

22. That at all times hereinafter mentioned defendant Amaaon.oom.DEDC, LLC is a
foreign limited liability company duly licensed and authorized to conduct business in the State of
New Yorl<.

23. That at all times hereinafter mentioned, defendant Amazon.com.DEDC, LLC is a
Delaware limited liability company duly licensed and authorized to conduct business in the State
ofNew Yorlc.

24. 'l`hat at ali times hereinafter mentioned defendant Arnazon.cocn.DEDC, LLC
conducts business in the State of New Yorlc.

25, That at all times hereinafter mentioned defendant Arnazon.com.DEDC, LLC sells n
products in the State ofl\lew Yorl<.

26. That at all times hereinafter mentioned, defendant Arnazon.oorn,DEDC, LLC
markets products in the State of New York.

2”!. That at all times hereinafter mentionedp defendant Amazon.com.DEDC ,LLC
distributes products in the State of New Yorlc. _

28_ That at all times hereinafter mentioned, defendant Amazon.com.DEDC, LLC
derives revenue from business conducted in the State of New York.

29‘ Tliat at all times hereinafter mentioned defendant Aniazon.eom.Dl-EDC, LLC
owns property in the State of New York.

30. Tliat at all times hereinafter mentioned, defendants Amazon.corn, Inc.,
Amazoncorn LLC and Arnazonicom.DEDC, LLC will be referred to collectively as
“defendants”.

3 l. That at all times hereinafter mentioned subrogor owned a horne at 25 Bailey
Place, Staten lsiand, New York (hereinafter referred to as “the home”}.

32. 'l`hat at all times hereinafter mentioned, subrogor and his family resided in the
home

33. That on or about November 5, 20{ 5, a Smart Ba[ance Wheel hoverboard, battery

and charger (hereinafter referred to collectiver as “lhe hoverboar ") malfunctioned and caused a

fire inside the homer

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34. That as a result of the aforementioned incident on or about Novernber 5, 20£ 5,
Subrogor sustained property damage and additional living expenses in the sum of $162,092.56.

35- 'l`hat prior to Novernber 5, 20 l 5, defendants marketed the hoverboard to subrogor
and his family.

36. 'l`bat prior to November 5, 2015, defendants sold the boverboard to subrogor and
his family (Order No. 107-8598722-0092205).

37. Tltat prior to November 5, 2015, defendants distributed the hoverboard to
subrogor and his family

38. That prior to and including November 5, 2015, defendants were aware of the
dangerous and defective condition of the hoverboard.

39. 'l`hat the aforementioned incident on or about Novernber 5, 2015, was the
proximate result of the negligence of defendants their agents, servants and/or employees in the
marketing sale and distribution of the hoverboard, Which defendants knew or should have
known was unreasonany dangerous defective and without warning of its susceptibility to
mallimction, as hereinabove set fortli; in that defendants Were otherwise careless and negligent in
the premises

40. Plaintiff and subrogor reserve the right to plead res ipsa loquitur at the time-of
mar 7 '

41. Tliat prior to Novernber 5, 2015, plaintiff issued an insurance policy to subrogor,
(hereinafter referred to as "the policy"}, pursuant to which plaintid` insured subrogor for the
damages being claimed, less a $l,000.00 deductible

42. 'l`hat subsequent to November 5, 2015, subrogor made a claim to plaintiff under
the policy for the damages sustained as a result of the Novernber 5, 2015 incident, and Was paid
the sum of $161,092.50, for which plaintiff is the real party in interest

43. That based upon the deductible provision of the policy, subrogor is the real party
in interest to the extent of ii l ,000.00.

44. That as a result of the negligent and otherwise wrongful acts and omissions of
defendants as hereinabove set forth, plaintiff has sustained damage in the amount of
$161,092.50 and subrogor has sustained damage in the sum of $ l ,000.00, for total damages
sustained by plaintiff and subrogor in the sum of $162,092.50.

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SECOND CAUSE OF ACTION

45. Plalntiff and subrogor repeat, reiterate and reallege each and every allegation
contained in the preceding paragraphs of this cornplaint, numbered “ l” through °‘43”, with the
same force and effect as though fully set forth herein at length

46. That at the time and place ofthe marketing, sale and distribution of the
hoverboard, defendants implied and warranted to potential purchasers and users thereof,
including subrogor and his famiiy, that the hoverboard was safe, tit and merchantable for use and
operation in the home.

47. That at ali times hereinafter mentioned, it was foreseeable that subrogor and his
family would rely on said warranty

48. That at all times hereinafter mentioned, the hoverboard was not suitable or safe
for such use and was dangerous for use in the manner hereinabove mentioned, of which fact
defendants failed to make Subrogor and his farnin aware.

49. That as a result of the foregoing breach of warranty, defendants are liable to
plaintiff in the sum of $161092.56 and to subrogor in the sum of $1000. 00, for total damage
sustained by plaintiff and subrogor m the sum of$162,092 56 no part of which has been paid,

despite due demand therefore
THIRD CAUSE OF ACTION

50. Piaintiff and subrogor repeat, reiterate and reallege each and every allegation
contained in the preceding paragraphs of this complaint, numbered “1” through “43”, “46 to
“48”, inclusive, with the same force and effect as though fully set forth herein at length

51 . That defendants in the marketing, sale and distribution of the hoverboard placed
upon the market a product in an unreasonably defective and dangerous condition, which was
unsafe for its intended use, knowing that it would be used without inspection for its susceptibility
to malfunction, as hereinabove set forth.

52. 'l`hat at all times herein mentioned, the hoverboard was being used in a manner

reasonably forsecable by defendants

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53. '['hat as a resuit ofthe foregoing defendants are strictly liable in tort to plaintiff in
the sum of 3161,992.56 and to subrogor in the Sum 0€$1000.00, for total damage sustained by
plaintiff and subrogor in the sum of $362,()92.56.

WHEREFORE, piaintiff Castlepoint Insurance Company afs/0 Al Saivatierra
demands judgment against defendants in the amount of $162,092.50, together with interest from

November 5, 20]5, including costs and disbursements of this action.

Dated: New York, New York // / f_., ~-¢
Maylt,zol? //Y);Cf

./:/ 1 , "\

MW€HF§, Esq."“‘~--»- j

WENIG & WENIG, PLLC

Attomeys for Plaintiff

150 Broadway - Suite 91 l

New York, New York 10038

(212} 374-9840

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Case 1:17-cV-O4592-RA Document 1 Filed 06/19/17 Page 16 of 32

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VERIFICATION

STATE OF NEW YORK )
) s.s.:
COUNTY OF NEW YORK )

i, the undersigned attorney, admitted to practice in the Courts ofNew York State,
certify that:

I am the attorney oi` record-for the plaintiff in the within aetion.

That I have read the foregoing Complaint and know the contents thereof and the same is
true to my knowledgeb except as to those matters therein stated to be alleged on information and
beiiet`, and as to those matters l believe them to be true.

That my belief as to those matters therein not stated upon knowledge are based upon the
correspondence reports, statements, records and communications had with the plaintiff with
regards to this action and Wnich information is contained in the file maintained in my office

'i`hat tire reason i make this affirmation instead of the plaintiff subrogors is because this
is a subrogation action and the plaintiff subrogors maintains a piece of business outside the
County_ wherein deponent maintains his officel Furthennore,_the piaintiff is a foreign
Corporation.

Iafiirm that the foregoing statements are true under t eFenaltie-s of peljury.

t "'-` * .~»""MMM_"`""`
ga /(,/- 51 /
aLAN artists

 
 

Dated: New York, New York
May ii, 2017

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Case 1:17-cV-O4592-RA Document 1 Filed 06/19/17 Page 17 of 32

EXHIBIT B

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lee/JUL Zt 2015

Agreemeot of i‘v‘lerger

Merger Of Caef§epoint insurance company Hermitaga lnsurance
Company and Tower |nsuranee Company of New york with and
into CastlePeint National Insurance Compsny

Tnis Agrsement of Merger is entered into between E;a§tlePoint Natign§t
insurance Corngang] an insurance company organized under the tsws of
Caiifornia (hsrein "Suwiving Cornpany"} end Casllsi'~’oir_rt Insurance Comoany
Hsrmitaoe Insurance Comnanv and Tower tn§umnce`€omoany of Now-Yorl<,
each an insurance company organized under the Esws of New Yorl< (r:olieettveiy,
the "Msrgiog Companles").

t. Msrging Conipanles shott be merged into S_urviving Comoany.

2_ °l'he outstanding shares of the Merging Co:mpanies sheil ne canceled Wiihout
consideration

3. The outstanding shares of Surviving Company shall remain outstanding and
are not affected toy the morgan

4. Msrging Cornpanies short from time to time, as and when requested by
Surviving Company. execute and de!tver eil such documents and instruments
and take sit such action necessary or desirable to evidence or carry out this
morgan

5. The effect of the merger and the effective date of the merger are as
prescribed by iaw.

 

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toia£v$a

IN WITN£SS WHEREOF, each of the undersigned officers has executed this Ag.reement
of M@rger this §9§\ day cf 2016.

TOWER INSURANCE COMPANY OF NE_W
YORK '

/,/

Narnc: f 'fitsc§bcrg
Titie: Prcsicient & 'I`reasurer

   
  
       
 

By:

.: /‘ ./J
By: L"f?;c¢."e{.c `\)‘M{:~'»
Namé.' Megtzt{n Zeigicr
Titte: AssistcntSecretary

HERMITAGE INSURANC_ _ 'OMPANY

 

By.'

 

Name§ witnjiv£tiisetberg`é‘t
Title: Presicicnt & Trcasurer

: n .’ /_*;‘? /
1335 z // /r.lo'j'l 91 c. `\l'i': L¢‘,£"*\..
mci M¢ghan,ieigter

Tittc: Assistam Secretmy

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 20 of 32

`,»*"

noiési$i

CASTLEPOlNT itisuR-r»;i~sc ~ COMPANY

 

By:

 

N;tm€: wiltii;fi Hitselberger`
'I`itlc: Presidcnt & 't`reasurcr-

By: L"¢"zcc'/{§ZM.. q/\Zv,»C./;§
Namc:' Mcgi}~z'}z't Zc'ig,ter
Titic: Assistant Sccrctary

 

CASTLEPO]NT NATIONAL INSURANC`E,
COMPANY

x
By: %/

Namc: z Hitsctbcr _
Tttic: Prcsidcnt & 'i`reasurer

 
     

\, ,,_!
By; 1 ,1‘§‘§'¢{5¢!/€£» `/\i:v/a
Name: ' Meghn`p’fic_i’glcr
Tittc: Assistant Secretary

 

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Certiticate cf Approval
of
Agreement of Merger

CastiePoirtt Nationat Insurance Cornpany

Witliem i-litselberger and Nleghan Zeigier certify thst;

t. qthey are the president and the assistant secretary respectively, of Caet!ePoinf
Nat:`onal' Insurance Comgany, an insurance company organized under the iaws of
California.

2. The principal terms of the Agreement of it/lerger in the form attached were duly
approved by the board of directors and by the shareholders of the company by a vote
that equaled or exceeded the vote required

3. The sharehoider approvai was by the holders of 100% of the outstanding shares of
the company

4. There is only one class of shares and the number of shares outstanding entitled to
vote on the merger is 300,000.

We further deciare under penalty of perjury under the iaws of the State of Caiifornia that
the matters set forth in this certificate are true and correct ot our own knowledge

tJate: >Lttt.t \Cx ZO\@
J t

  

'Wz; z 5

Namc: Wiilism Hitscibcrgcr
Titic: Prcsidcnt & 'I`rcasurer

~" Z??z"i'frl'£r'r.t` W\’L‘{'{é//"¢»
j "/ §

Namc: Mcgtiari Zcigtcr
Tittc: Assistant Secrctery

 

Case 1:17-cV-O4592-RA Document 1 Filed 06/19/17 Page 22 of 32

Certificate of Approvat
of
Agreement of Merger

CastlePoint insurance Company

Wiliiam i-litseiberqer and lvleuhan Zeiuier certify that

1. They are the president and the assistant secretary respectivetv, of CestlePoint_
insurance Comgang, an insurance company organized under the laws of New York,

2. Tne principal terms of the Agreement of N!erger in the form attached were duly
approved by the board of directors and by the sharehotdere of the company by a vote

that equaled or exceeded the vote required

3. The aharehoider approval was by the holders of 100% of the outstanding shares of
the company

4. T here is only one class of shares and the number of shares outstanding entitled to
vote on the merger le 100,000_

We further declare under penalty of perjury under the laws of the State of California that
the matters set forth in this certificate are true and correct of our own knowledge

Date: SH»\/U\ \Qt\ZOUS>
_/' f

 

 

I*f/ "“"---\.

Narnc:. Wiffiafn Hitsclberger
Titlc: Presidcnt & Treasurer
LJBXZ'}'£';-t'»;r (‘E?(¢‘EC‘ €-.*~.¢

-»1’ r/ y

Namc: Mcghan Ze`tgler
Tit]c: Assistant Secretary

 

Case 1:17-cV-O4592-RA Document 1 Filed 06/19/17 Page 23 0f_32

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Certincate of Approval
of
Agreement of Merger

Herrnitage insurance Company

Wiitiam Hiteeiberoer and Medhen Zeiqler certify that

1. They are the president and the assistant secretary, respectively, of Hormltege
insurance Comgang, an insurance company organized under the laws of New York.

2‘ "l'ne principal terms of the Agreement of ivierger in the form attached were duly
approved by the board of directors end by the shareholders of the company by a vote
that equated or exceeded the vote required

3. The shareholder approval vvas by the hotders of 100% of the outstanding shares of
the company

4. `i'hare is only one class of shares end the number of shares outstanding emitted to
vote on the merger is 1,095.

We further deciare under penalty of perjury under the laws of the State of Caiifomta that
the matters set forth in this certificate are true and correct of our own knowledge

Date: >\k,\.i:>\%\ }M`é

"///' /7/ f
Namc: Witiiam Hitsclbc`rgcr
Title: Prcsidcnt &, Trcasurer

////WWMW

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y l/ .‘7

Name: Meghan Zeigler
Titie: Assistanr Secrctary

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 24 of 32

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50786?53`

Certi&cate of Appreval
of
Agreereent of N|erger

Tower insurance Company of New York

Wiitiam Hitseiberger and Meghan Zeigler certify that

1. Tney are the president and the assistant secretary, respt=:ctima|yl of Tower Insurance
Comgang of New York. an insurance company organized under the iaws et New
York. ‘ z

2. Ttte principal terms of the Agreement of Nlerger in the form attached were duty
approved by the board of directors and by the shareholders of the company by a vote
that equated or exceeded the vote required

3_ Tne sharehoider approvat was by the heiders of tOD% of the outstanding shares of
the cc>rm:¢an~,rl

4. Tnere is onty one class of shares and the number of shares outstanding entitled to
vote on the merger is 1,482.

We further declare under penalty of perjury under the laws of the State of Califernia that
the matters set forth ln this certificate are true and correct of our own knowledge

Date: 59\\€/\ \G\ z M`é
\_) z

   

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f 1 ' ' j .r \~"¢_
Name: William itsc§berger
'I`itie', President & Treasurm'

`¢’
. . /.-,_ ,
l . ;r!’?’.’;¢ r';,:. ”i:'.'£<.,’[¢'»t.
'./ ',

Name: Meghan' Zeigier
Titic: Assistant Seeretary

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 25 0f:32

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STATE OF CALEFORNIA DAVE _fONES. Insurance Cemm£.rsioner
DEPARTMENT OF {NSURAN CE ' '

ute M. division » ConPosArF. Ar=rAtrts Btraem.i
45 Fnr=_Mo.\nsrar-.rar.l~l"’ moon
S.»\rtl:ttANC‘iSCO_CA 94505

Jnck_l-iom@insumnce.ca.gev

 

PDF copy via entail to Wiltiem `Hitscibcrger §tiltitseibcrger@twrem.com]

run 15,2016

Mr, Wiliiam 'E. Hitselbcrger
Presidr:nt and treasurer
Tower Com;zan`tes

59 Maideri Lane, 33“‘ Floor
Ncw Yr)rk, NY i0038

RE: Castlr';Point lns.- Co.: 301 l(c} Application - Merger with and into Castlei;’oint Natiottal
lns. Co.; APP~ZOlé-UOSOZ; IDB § 16-3355

Dear Mr, Hitselberger:

Ort or about June 29, 2016, the Califomia Departmenf of insurance {"CDI“) accepted for filing the

101 l(c) application from CasticPoint lns. Co. (CastlePoirrt}, a New York company, in connection with
its merger with and into CastlePeinl Nationa§ ins. Co. {CNEC), a Catifornia company, wherein CNIC
witt bc the survives Ttte merger of CastlePoint with and into CNIC, atong with the pending mergers of
other Towcr Companies {-as listed beiow} with and into CNIC, are part of the proposed Conservation
Pian that is the subject of negotiation between thc CDI and the 'i`ower Companies. Atthough the
Conservation Plan is not in final form as of the date oi` this ierter, the mergers of the various Tower
Companies with and into CN!C is a prerequisite to the implementation ot` the Conscrvation Plan.

The `¥`ower Cornpanit:s arc ten individual insurance carriers that are domiciled in six different states:
{i} North East Ins. Co. » CA; {2) ‘forit ins, Co. ofMaine » CA*; {3} Tower tns. Co, ot`New ‘{orl< - \lY;
(<1) Hermitage tns. Co. - NY: {5} Castle?oint ins Co. » N‘{; (6} 'i'ower Nationai Ins. Ce. - MA;

{'?) Massachose!ts Horneland ins, Co. _ MA; (S) Casiiei’oint Fiorida Ins. Co, - FI,;

(9) Preserver lns. Co. - NJ; {li}) CasticPoint Na!ional Ins. Co. - CA.

'l`tie Conservetion Plan proposes that ail nine ofth<: individual Tower Cornpanies merge with and into
CNIC, with CNlC as the survivor. As provided in the Merger Agrcerncnt (Exhibit B to the subject
application), CNIC shail be deemed to have assumed ali of the iiabitities and contractuat obiigations of
Casttel’oint. After all the mergers are compieted, C`NIC will be pierced into conservation under
Ca}ifornia ins Code Section 101 l, with the Catifomia lns, Cornmissioner as the Conservator,

 

1 As pan oi'ii'rc Cem;ervation Plan, Neniz inst ins. £'oi and Vork Ins, Co. each obtained a Cr:nilicate oiAuthoriry from Caiifornia end
then subsequently changed their state oidornicilc irom Meine to Calilernia in May 10i6.

Consurner t~totiine {SUO} 927-HEi.P v Producer ticensing {890) 95?-9331

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/t7 Page 26 of 32

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totoetsa

Mr. W. Hitselbcrgcr

iOi I(c) Appiication - Cast]ci’oint
luly 15, 2016

Page 2

Cortditional A rovai .
in accordance with Caiii`orrtia rcquircmettts, on .Iuly 3 CastlcPoint submitted its Board of .Diroctors
Resolution, and on Jttly ll it submitted its Sha.reholdcr Rcsoitttiort, both of which approved the morgan .

'I`i'tc CDI has completed its review of the documents submitted itt support of thc merger application Due
to the Towcr Companics’ hazardous condition, the CDI expedited its review of tire mcrgct"appiication in
order to proceed with the Conscrtvation ’Plan as expeditiously as possible According§y, tito CDi waived
the requirement of submission of certain documents that would have otherwise been required

Thc CDI hereby grants conditional approval of the merger ofCasticPoint into CNIC; howe_ver, tito
approval is subject to the completion of the mergers of the aforementioned Towcr Comparties with and
into CNiC.

If the'mcrgcrs of the Towcr Compartics with and into CNIC arc not completed, this conditional approval
shall not be effective

Should you have any questions about this letter, please feel free to contact the undersigned

'1" hank you for your cooperation in this mattcr.

Sirtct:’:lé,/` i;

jack K., Hott't
Attorrrcy til

CC: Tornoko Stocl<; Fartnic Huang

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 27 of 32

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STATE OF CALl}-`ORNIA DAVE JONES, insurance Com:r)r'ssr'vner
DEPARTMENT OF INSURANCE

LEGA\. DWISIGN ~ CORPQRME AFF._'~ms Bu)uzmr
45 Fm:MoNT smart 24"‘ Fs.<>lm
SAN i":z,\m:)sco_ CA 94105

£a<:k.liom@insumnce.ca.gov

 

PDF copy via emai§ 10 Wil]iam Hilsc|bergcr [§hjlsclbcmcr@twrg[g,cum|
duly ]5, 2016 .

Mr. William E. I-Iitselberger
Prcsident and Trcasurcr
Towcr Compan§es

59 Maiden Lane, 38“' Floc)r
Ncw ‘{urk, N'Y I0038

RE: Herm:"tagc Ins. Co.: 161 l(c) Application- Mergcr with and into C'as!Ich`ni Naticnal Ins.
Co.', APP-EOIS~OOS.O?); lDB # 16»385?

Dear Mr_ Hizseibergcr:

On or aboui .lune 29, 2016,1he Cali!`ornia Dcpariment of Insurance (‘*CDI") accepted for i'aling the

101 l{c} application from Hermilage ins. CD. {Hcrmitage), a New Yor§; company, in connection with i£s
merger with and into CasllePoint National lns. Co. (CNIC), a Caiifornia company, wherein CNIC will be
the survivor The merger of Hcrmilage wi:h and into CNIC, along wi!h !he pending mergers of other
Towr:r Companics {as listed below) wiih and into CNLC, are part of f.he proposed Conscrvatinn P_lan thai
is ihe subject of negotiation between the CDI and the Towcr C<Jmpanies. A§though the Conscrvatinn
Plan is not in fined form as of the dale of this lettcr, the mergers of the various Tower Companics with
and into CNIC is a prerequisite to the implcmc:mation of the Conservarion P1an,

Thr: Towcr Companics are ten individual Insurance carriers mar are domiciied in six different states'.
(1 } Nonh Ea$t Ins. Co. ~ CA; (2) York ins. Co. of Maine - CA*; {3)T0wcr Ins. Cc). oi`New York - NY;
(4) Hermitage Ins. CG. - NY; (5) CastleP<)inl Ins._(,`o. ~ `NY', (6} Tower Naliona¥ lns. Co. - MA;

(7) Massachuseus Homelana inst L,‘o. ~ MA; (zs) casnef>oim rmi-ida mi cr,. - r=r.;

{9} Preservcr Ins. Cu. - NJ; {10) Cast!ePoint Nationa] ilas. Co. - CA.

"i`he Conserva\ion P¥an proposes that ai! nine of the individua§ Towc:r Companies merge with and into
CNIC, with CNIC as the survivor As provided in the Mcrger Agreemcn: {Exhibit B 10 the subject
application), CNlC shelf be deemed m have assumed all of the liabiiities and contractua! obligations of
Hcrmi;age. After all the mergers arc campietc:d, CNIC wi§l be placed imc conservation under Calii"omia
lns. Code Section 101 1, wixh the Ca§ifomia Ins. Commissionr:r as the Conservator.

 

1 As pan nfzhe Consen'ation F'§an. 340th £ast lns. Co. and Y<>r§c %ns. Co. each obtained a Certi§':cazc ofAu\hority from Califumia and
men subsequcnny changed ehle same ofdamic§}e ¥rom \‘v‘iaine 10 C`aiit`omia in May 2016.

Consumer Hotiine (BGCI} 927-HELP » Producer Licensing {BGG] 967»9331

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 28 of 32

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Mr. W. Hitsclbergcr

101 i{c) Appiicatiori - I:iemlitsgc
Juiy 15, 2056

Fage 2

Condiiionai A rovai
In accordance with Calif'c)mia requirements cm .Iuly 8 Hcrmitage submitted its Boarcl of Directors
Resoiution, and on July il it submitted ils Shareholder Rcsciution, boih of which approved the merger ,

'i‘he CDI has completed its review ofthe documents submitted in support of the merger application Due
to the Tower ‘130111}33nies1 hazardous condition, thc Ci)i expedited its review ofthe merger application in
order to proceed with the Cor;servation Plari as expeditiously as possible According§y, the'CDl waived
lite requirement of submission of certain documents that wou!d have otherwise been required

'l'he CDI hereby grants conditional approval of thc merger of i-iermitage into CNLC; howcvcr, the
approval is subject to thc completion ofthc mergers of the aforementioned Tower Companies with and
into C`NIC.

{fthc mergers ofthe Towcr Companies with and into CNIC are not completcd, this conduich approva§
Shali not be effective

Shouid you have any questions about this iettcr, please feel free to contact thc undersigncd.
Thank you for your cooperation in ihis matter
Sinccrely,

Jacic K, Hom
Attorney iii

CC: Tomoi<o Stock; Fannie Huang

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 29 0f_32

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STA'I`E OF CN.!FORN!A DAVE }ON ES\J Insurance Commt'sst`arl€r
DEPARTMEN'I` OF INSURANC'E `

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45 l-`ttt<.r~tont sweet 24"’ Ft.oon
SAN FMNCtSt:o.tir\. smitt$

Jacit.;-lom@insuranee.ca.gov

 

PDF copy via email to Wi}liam Hitselbergei' lbhitsclberger@twrg§g.contl
.Juty 15, 2016

Mt'. Williem 13. Hitscibergcr
Presidcnl and Treesurcr
'Tower Companies

59 Maideo Laoe, 38"‘ Fioor
New York, N`t’ 10038

RE: 'I`ower Ins. Co. of New \’oric: 103 i(c) Application - Merger with and into CastlePoint
Notiona! Ins. Co.; APP~?.GiG-OO?Q§; lDB iii 16-3352

Dear Mr. ilitselberger:

On or about .l one 29, 2016, the Calit`omia Depattment oi'lnsurance ("‘CD£’°) accepted for iiiing the

101 i(e} application from 't_`ower Ins. Co. of New York (’I`!CNY}, a New York company, in connection
with its merger with and into CastlePoint National ins. Co. (CNIC], o Caiit”or_nia company, wherein
CNIC will be the survivor. 'l`he merch of TICNY with and into CNIC, along with the pending mergers
of other 'l`ower Compnnies (as listed below) with and into CNIC, are part oi` the proposed Conservat`ton
Pian that is the subject oi`negotiation between the CD! and the 'i`ower Compnnies. Aithough the
Conservatioo Pian is not in final form as of thc date of this letter, the mergers oftiie various Tower
Companies with and into CNIC is a prerequisite to the implementation of the Conservation Plan.

'l`he 'l"ower Companies are ten individual insurance carriers that arc domiciied in six different statcs:
(l) North Ea.st ins. Co. - CA; (2) York ins. Co. ot` Maine - CA‘; (3) Tower lns. Co. ofNew Yori< » NY',
{4} Hermitage Ins. Co, - N‘{; (5} CastlcPoint lns. Co. - NY; (6) Tower Nationai Ins. Co. - MA;

{7) Massacl'iusetts Home|and ins. Co. ~ MA; (8) Casllel’<)ml l"iOriCla IHS. CU- - FL;

{9) Prcscrver ins. C`o. - NJ; (10) CasticPoint National ins. Co. - CA.

The Conservation Pian proposes that all nine of the individuai Tower Companies merge with end into
CNIC, with CN!C as thc sowivor_ As provided in the Merget Agreernent (Exitibit B to thc Subjcct
application), CNIC shali be deemed to have assumed ali of the liabiiities and contractual obligations of
TICNY. After tait the mergers ore completcd, Ci\`iiC will be placed into conservation under Caiii`omia
Ins. Code Scction 1011, with thc Caiifomin Ins. Commissioner as thc Conse.rvator.

___...______M.,__.___.._......W--_-_-

1 As pan of the Coriservation Plan. Nortit East ins. Co. and Yorit lns. Co. each obtained a Ccrtii`\cate ofAuthority from Ca|ifornia and
then subsequently changed their state of`domici¥e from Mair\e tn Colifomia in Nlay 20i6.

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Case 1:17-CV-O4592-RA Document 1 Filed 06/19/1_7 Page 30 of 32

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Mr. W. i-Iitsclbcrgcr

101 l(c) Appiication - TICNY
July i$, 2016

Page 2

Conditionat Agprovai
ln accordance with Califomia requirements, on Juiy 8 TICNY submitted its Board ot` Directors
R€soit.ttion, and on Juiy ll il submitted its Sha.rehoider Resoiution, both of which approved the mergcr. *

The CDI has compieteci its review of the documents submitted in support of the merger application Duc
to the 'I`owcr Compmiics’ hazardous condition thc CD} expedited its review of the merger application in
order to proceed with the Conservation Pian ns expeditionsiy as possibie. Aocordingiy, the Cl)} waived
the requirement ot` submission of certain documents that wouid have otherwise been required

'I`h<: CDl hereby grants conditional approval of the merger of 'I`ICNY into CNIC; howev¢r, the approval
is subject to thc completion oi` the mergers of the aforementioned Tower Com;)tmit:s with and into
CNIC.

it`the mergers of the Towcr Compariies with and into CN!C are not compieted, this conditional approval
shall not be eft`ective.

Shouid you have any questions about this letter, phase feel free to contact the undersigneé.
Thank you for your cooperation in this matter.
Sinccrciy,

wi%it§

fook K. Ho_m
Attomey Iil

CC: Tomoko Stock; Fannio _Huang

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/1] Page 31 of ;32

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ST`ATE OF CAL!FO RNEA * Davo Jo:tes, !nsz:ro:ice Co)mnissio)ier
I)P;PARTMENT OF ¥NSURANCE '
Leg‘ai Division, Cor{)orate Affairs Bm'eau

45 Fremom Street, 24th Fioor
Stm i-':'ancisco, CA 94105

jack K_ Hom

Attorltey llI

TEL; (4\ 5)538~4!29

E-Mai l: Jack.Hom@insuranos.ca.gov

 

PDF copy via email to oileo.yamshon@sos.oa.gov

july 21, 2016

Re: '.i`ower National Ins. Co.

Dear MS.Yam Shon:

This letter shali confirm that the Caiifomia Dopartment of insurance hereby romoves the
conditional approvai of the mergers of (1) North East ins', Co.; (2) York ins. Co. of Maihe; (3)
CastiePoini Floricia ins Co.; (4) Proserver Ins. Co_', (5) Castie?oiut ios. Co.; (6) Hormitsge ins.
Co.', and (7) Tower ios. Co. ofN¢:w Yoric with and into Castloi?o§m Nationai ins. Co. '
Spooifioaily, it is the CDi’s_ understanding that the merger of Tower Natio_nal ins. Co. is.deiayeti
due to a tax issue. Tho mergers ofthe seven companies listed above may proceed despite the
TNIC merger deiay.

Pleass let me know if you need anything further in this regard

Thank you very much for your assistanoe.

S'iocereiy_,

gmi towa-

Jaci< K. `Hom
Attomey III

Coosumor Hotiine (BOU) QZT»HELP v Producor Licensing (BGO) 967-9331

 

Case 1:17-CV-O4592-RA Document 1 Filed 06/19/17 Page 32 of 32

 

Federe| District Court, Sothern District of New York.

 

 

 

 

CAS?§_EPO|NT ENSURANCE COMPANY AIS!O AL §ALVAT|ERRA,
P|airztiffs,
-against»
AN|AZON.CONI, |NC., AMAZON.COM, LLC AND AMAZON.COM.DEDC, LLC, Cr`w`f Actfon No. 154402/2017
Defer=,danis.
X
PET|TlON FOR REMOVA!_

 

SM|TH N|AZURE D|RECTOR W|LKENS YOUNG & YAGERMAN, P.C.
At%orneys for Defendants
Amazon.Com, inc., Amazon.com, LLC and Amazon.Com,DEDC, LLC
111 Jorm Street
New York, NY 10038
(212) 964-7400
AMZ-OU?OQ

 

CERT}F|CAT|ON PURSUANT TO F.R.Civ.P. 11
J. JAY YOUNG hereby cert§&es thai, pursuant to F.R.Civ.P. 11, the foregoing is not frivolous nor frivolous§y presentedl

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j j ‘7 s i:;l

 

Dated: New York, New York 3. JAY YOU NG
June 19, 2017

 

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